After carefully reviewing the evidence in this case, I believe the court below could have found that appellant had not proven his defense by a preponderance of the evidence. But, like the trial court, I am concerned with the lack of standards.
The problem in this case is that the legislature created an affirmative defense to a carrying a concealed weapon charge but did not provide any clear guidelines *Page 819 
for a court to follow in determining what qualifies as that affirmative defense. The trial court pointed out the difficulty, when, in finding Orin guilty, it stated:
"I've tried to lay out to the best of my ability findings that a court of appeals could take a look at. * * * I want this case appealed. I want the Fourth District to take a look at this statute and tell me how to read the darn thing. * * * I just can't believe that the General Assembly is suggesting by this enactment that people who are threatened kids who threaten each other, ought to respond by arming themselves."
The trial court said, in effect: "I have had to decide this case on a subjective standard and there ought to be an objective standard."
R.C. 2923.12 sets out the general standard of the "reasonably prudent person," but there are some who believe that a "reasonably prudent person" would never carry a weapon, and others who believe that carrying a weapon might be prudent given certain circumstances. For example, in response to the recent attacks on federal judges, some of them have asked Congress to enact an exemption for them so that they can carry guns without risk of violating the local firearms control laws. Other federal judges think this is an outrageous overreaction. Are we to assume that some federal judges think like reasonably prudent persons and some do not? If you have identical threats, but different reactions, how does one determine which is the reaction of the reasonably prudent person?
There has to be an accepted objective standard. An objective standard is one which can be applied whether one personally agrees with it or not. A reasonably prudent person would find that smoking is unhealthy, and even a smoker would not disagree, although he prefers to smoke. A reasonably prudent person might ride a motorcycle, although many people would not. The difficulty in the "reasonably prudent person" standard is that it leads to a subjective analysis: "Because I would not do such a thing, the reasonably prudent person would not do such a thing." Thus, it becomes an "objective" standard subjectively arrived at.
There must be objective standards for determining the reasonableness and prudence of going about armed. Generally speaking, the court should consider all the circumstances, particularly the magnitude, severity or immediacy of the threats against the defendant such that a prudent person would be justified in going armed in the community.
The majority opinion sets forth some of the criteria which might be considered — the nature and extent, speculativeness, and the proximity and likelihood of future contact. The majority also suggests a consideration of attempts at avoidance or whether the weapon is concealed for defensive purposes alone. I, frankly, do not put much store in the majority's criterion of reporting the threat *Page 820 
to police, since the police ordinarily will not take any action when a person has only been threatened.
I would suggest that there are other factors which ought to be considered.
A threat may be non-specific yet sufficient to convince a reasonably prudent person to be armed. A person whose occupation requires him to carry cash or valuables might find it prudent to be armed. A person living in a high crime area might find it wise to carry a weapon. In State v. Bobo (1988), 37 Ohio St.3d 177,  524 N.E.2d 489, the Supreme Court held that the high crime character of an area is a relevant factor in determining probable cause for a Terry stop and a patdown search for the officer's protection. A reasonable and prudent private citizen might likewise regard having to live in a crime area as a relevant factor in deciding whether to be armed.
The "reasonably prudent person" standard of R.C. 2923.12(C) ought to be viewed somewhat like the analysis used to determine if a defendant has acted in self-defense, i.e., was the response proportional and balanced. In deciding the appropriateness of self-defense, we look at the nature of the attack, the accessibility of the defendant or proximity of those making the attack. We look at the kind of injury possible — a punch in the face or a bullet in the stomach — and find that the more serious the likely injury, the more justified a violent response. We look at the defendant's interest to be protected — himself, his family, his property, or others or their property? We also look at whether the defendant chose the least offensive or harmful way to protect himself. The reasonably prudent person's response would be proportional to the threat.
In self-defense situations, the courts also look to the subjective belief of the defendant as to the seriousness of the threats against him. That, too, ought to be a criterion in the reasonably prudent person standard. There are many law-abiding persons who feel that the law will protect them. Inner city residents often feel they have no police protection, and rural residents often feel their local sheriff's office is understaffed or unconcerned. Whether or not these feelings are justified, one ought not be considered a felon for thinking so.
The majority opinion has listed some criteria, and I have suggested even more, but life being what it is, there are most likely still others which cannot be anticipated by our opinion. The best policy to be followed by a trial court in a case where an affirmative defense is offered under R.C. 2923.12 is to allow anything the defendant offers into evidence. No reversible error will ever come from letting a criminal defendant put on evidence, and no harm is likely to come to the state's case because a jury is not likely to be fooled by an invalid defense.
Applying the analysis above to this case, I have concurred because I do not believe the trial court committed error, as that term is ordinarily used. It is not *Page 821 
error for a trial court to apply a vague standard, if that is the only standard. I do believe, however, if the trial court determines, in light of our opinion here, that the result in this case is voidable and in violation of the Ohio Constitution for having been obtained under the wrong standard, then it may allow whatever relief is appropriate by post-conviction procedure or otherwise.
Thus, I concur.